                             Case 21-14649     Doc 30     Filed 08/20/21    Page 1 of 3
Entered: August 20th, 2021
Signed: August 20th, 2021

SO ORDERED




                                    UNITED STATES BANKRUPTCY COURT
                                     FOR THE DISTRICT OF MARYLAND
                                             (Greenbelt Division)

         In re: Mahmoud Musa Abulhawa,          :                    Case No. 21-14649-TJC
                                                :
               Debtor.                          :                    Chapter 13
                                                :
         ______________________________________ :

                                                AGREED ORDER

                   On August 9, 2021, the Court held a hearing on Debtor’s Motion to Extend the Automatic

         Stay (Doc. 16) and Objection filed by Kapitus Servicing, Inc. f/k/a Kapitus Funding Network, Inc.

         as servicing agent for Strategic Funding Source, Inc. d/b/a Kapitus ("Kapitus") (Doc. 25). For the

         reasons set forth on the record, the stay is extended, and the Court requires the parties to submit

         an agreed order as to the timing of the Debtor's compliance with and responses to the Motion for

         2004 Examination and Production of Documents Pursuant to Rule 2004 (the "Rule 2004 Motion")

         filed in the Debtor's prior bankruptcy case by Kapitus on November 17, 2020 (Doc 33; Case# 20-

         18036) and resulting order entered by this Court on December 7, 2020 (the "Rule 2004 Order")
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(Doc. 41; Case# 20-18036). Therefore, it is hereby ORDERED, ADJUDGED AND DECREED

that:

        1.      The Debtor shall fully comply with the Rule 2004 Motion and requested Production

of Documents Pursuant to Rule 2004 and the resulting Rule 2004 Order, and produce all

documentary evidence due Kapitus to counsel for Kapitus at SANDS ANDERSON PC, 1497

Chain Bridge Road, Suite 300, McLean, VA 22101-5728, or such other address or electronically

as directed by counsel for Kapitus, within fourteen (14) days from entry of this Agreed Order.

        2.      The Debtor shall submit to an examination by Kapitus at a time and place to be

agreed upon on at least fourteen (14) days prior written notice, but in no event more than thirty

(30) days after the request of Kapitus, and subject to any extensions agreed to by Kapitus.

        3.      No further service of this Order is required because a copy shall be served via the

Court’s ECF system to counsel for all necessary parties.

        4.      The Court retains jurisdiction to resolve any disputes or controversies arising from

or related to this Order.

This Agreed Order may be executed in counterparts. Copies, facsimiles, or email in .PDF format

of the Parties’ signatures shall be deemed to be original signatures of the Agreed Order and shall

have the same force and effect for all purposes as the original. Order submitted by:


  /s/ Paige Levy Smith                                 /s/ Klementina V. Pavloca
  Paige Levy Smith, MD Fed. Bar No. 19912              W. Ashley Burgess (admitted pro hac vice)
  SANDS ANDERSON PC                                    Klementina V. Pavlova (admitted pro hac vice)
  1497 Chain Bridge Road, Suite 300                    SANDS ANDERSON PC
  McLean, VA 22101-5728                                P.O. Box 1998
  Tel. 703.893.3600                                    Richmond, VA 23218-1998
  Counsel for Kapitus Servicing, Inc. f/k/a Colonial   Tel. 804.648.1636
  Funding Network, Inc., as servicing agent for        Counsel for Kapitus Servicing, Inc. f/k/a
  Strategic Funding Source, Inc., d/b/a Kapitus        Colonial Funding Network, Inc., as servicing
                                                       agent for Strategic Funding Source, Inc., d/b/a
                                                       Kapitus
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SEEN AND AGREED:

/s/ Richard B. Rosenblatt
Richard B. Rosenblatt
The Law Offices of Richard B. Rosenblatt
30 Courthouse Square Ste. 302
Rockville, MD 20850
Tel. 301.838.0098
Counsel for the Debtor
